        Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 1 of 6




                          EXHIBIT 6




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
JUDGMENT - 36
CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 2 of 6


1                                                                         The Honorable Thomas S. Zilly

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8                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
9                                           AT SEATTLE

10
            STRIKE 3 HOLDINGS, LLC, a
11          Delaware corporation,                              No. 2:17-cv-01731-TSZ

12                                    Plaintiff,               PLAINTIFF’S OBJECTIONS AND
                                                               RESPONSES TO DEFENDANT’S
13                    v.                                       FOURTH SET OF REQUESTS FOR
                                                               PRODUCTION OF DOCUMENTS
14          JOHN DOE, subscriber assigned IP
            address 73.225.38.130,
15
                                      Defendant.
16

17
                  Pursuant to Fed. R. Civ. P. 36, Plaintiff Strike Three Holdings, LLC (“Plaintiff”)
18
          hereby responds and objects to the Fourth Set of Requests for Production of Documents
19
          propounded by Defendant John Doe, subscriber assigned IP address 73.225.38.130
20
          (“Defendant”) as follows:
21
                                        PRELIMINARY STATEMENT
22
                  Plaintiff’s responses to these Requests are based on its current knowledge,
23
          information, and belief. As Plaintiff is still in the initial stages of discovery, additional
24
          knowledge of facts and information may result from further discovery or investigation. It is
25

26       PLAINTIFF’S OBJECTIONS AND RESPONSES                          Law Offices of Lincoln Bandlow, PC
         TO DEFENDANT’S FOURTH SET OF                                      1801 Century Park East, Suite 2400
         REQUESTS FOR PRODUCTION OF                                                  Los Angeles, CA 90067
         DOCUMENTS                                                     P: (310) 556-9680 | F: (310) 861-5550
         No. 2:17-cv-01731-TSZ – Page 1

     DECLARATION OF ADRIENNE D. MCENTEE IN
     SUPPORT OF DEFENDANT’S SUPPLEMENTAL
     RESPONSE TO MOTION FOR SUMMARY
     JUDGMENT - 37
     CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 3 of 6


1         possible that there are additional facts which Plaintiff has been unable to determine and

2         additional documents which Plaintiff has been unable to locate despite diligent efforts, and

3         Plaintiff anticipates that additional facts may be determined and that additional documents

4         may be located through further discovery, investigation and research. Such discovery

5         efforts are ongoing. Accordingly, Plaintiff reserves the right to identify additional facts and

6         documents, as well as the right to amend or supplement its responses to these Requests as

7         this case progresses. Plaintiff further reserves all objections as to competency, relevance,

8         materiality, privilege, or admissibility of its responses herein and any document or thing

9         identified in these responses.

10                           OBJECTIONS AND RESPONSES TO REQUESTS

11                                 FOR PRODUCTION OF DOCUMENTS

12        REQUEST FOR PRODUCTION NO. 82:

13               Any and all communications by and between Strike 3 and “Sid” Singh, who was

14        referenced in the depositions of Greg Lansky, Susan Stalzer, and John Pasquale.

15        RESPONSE:

16               Plaintiff objects on the basis that this request seeks documents that are neither

17        relevant nor likely to lead to the discovery of admissible evidence. Plaintiff objects on the

18        basis that this request seeks documents that fall under the attorney work product privilege

19        and communications which are attorney client privileged. Plaintiff objects on the basis that

20        this request seeks documents that are not proportional to the needs of the case. Plaintiff

21        objects on the basis that this request is overly broad and unduly burdensome. Indeed, as

22        written this request seeks any and all forms of Strike 3’s communication with Sid regardless

23        of whether the communication falls outside of any relevant time period or whether the

24        communication even pertains to this case. Since the request is so overly broad, a host of

25        responsive documents are not remotely related to any material fact at issue in this case.

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         No. 2:17-cv-01731-TSZ – Page 2

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     JUDGMENT - 38
     CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 4 of 6


1         Plaintiff further objects on the basis that this request seeks confidential business

2         information pursuant to Fed. R. Civ. P. 26(c). The foregoing is confidential information

3         which is not publicly known and provides both Strike 3 and Sid’s company with a

4         competitive advantage.

5

6         REQUEST FOR PRODUCTION NO. 83:

7                 Any and all documents in your possession providing the name of “Sid” Singh’s

8         company, its location, and contact information for Mr. Singh.

9         RESPONSE:

10                Plaintiff objects on the basis that this request seeks documents that are neither

11        relevant nor likely to lead to the discovery of admissible evidence. Plaintiff objects on the

12        basis that this request seeks documents that fall under the attorney work product privilege

13        and communications which are attorney client privileged. Plaintiff objects on the basis that

14        this request seeks documents that are not proportional to the needs of the case. Plaintiff

15        objects on the basis that this request is overly broad and unduly burdensome. Indeed, as

16        written this request seeks any and all documents containing Sid’s information and therefore

17        includes potentially all of Strike 3’s communication with Sid regardless of whether the

18        communication falls outside of any relevant time period or whether the communication

19        even pertains to this case. Since the request is so overly broad, a host of responsive

20        documents are not remotely related to any material fact at issue in this case. Plaintiff further

21        objects on the basis that this request seeks confidential business information pursuant to

22        Fed. R. Civ. P. 26(c).

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         No. 2:17-cv-01731-TSZ – Page 3

     DECLARATION OF ADRIENNE D. MCENTEE IN
     SUPPORT OF DEFENDANT’S SUPPLEMENTAL
     RESPONSE TO MOTION FOR SUMMARY
     JUDGMENT - 39
     CASE NO. 2:17-CV-01731-TSZ
         Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 5 of 6


1      DATED this 19th day of June, 2019
                                           LAW OFFICES OF
2                                          LINCOLN BANDLOW, PC
3                                          By: /s/ Lincoln Bandlow
                                           Lincoln D. Bandlow, Admitted Pro Hac Vice
4                                          1801 Century Park East
                                           Suite 2400
5                                          Los Angeles, CA 90067
                                           Telephone: 310-556-9680
6                                          Facsimile: 310-861-5550
                                           Email: lincoln@bandlowlaw.com
7
                                           THE ATKIN FIRM, LLC
8
                                           By: /s/ John C. Atkin
9                                          John C. Atkin, Admitted Pro Hac Vice
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10                                         55 Madison Avenue, Suite 400
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12                                         ARETE LAW GROUP PLLC
13                                         By: /s/ Jeremy E. Roller
                                           Jeremy E. Roller, WSBA #32021
14                                         Email: jroller@aretelaw.com
                                           1218 Third Avenue, Suite 2100
15                                         Seattle, Washington 98101
                                           Telephone: (206) 428-3250
16                                         Facsimile: (206) 428-3251
17                                         Attorneys for Plaintiff
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26    PLAINTIFF’S OBJECTIONS AND RESPONSES              Law Offices of Lincoln Bandlow, PC
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      No. 2:17-cv-01731-TSZ – Page 4

 DECLARATION OF ADRIENNE D. MCENTEE IN
 SUPPORT OF DEFENDANT’S SUPPLEMENTAL
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 JUDGMENT - 40
 CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 150-6 Filed 06/24/19 Page 6 of 6


1
                                        CERTIFICATE OF SERVICE
2
                 I, Lincoln Bandlow, hereby certify that on June 19, 2019, a true and correct copy of
3
          the foregoing document was served via email to the following:
4

5                        Adrienne D. McEntee, WSBA #34061
6                        Beth E. Terrell, WSBA #26759
                         Email: bterrell@terrellmarshall.com
7                        amcentee@terrellmarshall.com
                         936 North 34th Street, Suite 300
8                        Seattle, Washington 98103-8869
                         Telephone: (206) 816-6603
9                        Facsimile: (206) 319-5450
10
                         J. Curtis Edmondson, WSBA #43795
11                       Email: jcedmondson@edmolaw.com
                         EDMONDSON IP LAW
12                       399 NE John Olsen Avenue Hillsboro
                         Oregon 97124
13
                         Telephone: (503) 336-3749
14
                         Attorneys for Defendant
15

16
          DATED this 19th day of June 2019 at Los Angeles, California.
17
                                                      /s/ Lincoln Bandlow
18                                                    Lincoln D. Bandlow
19

20

21

22

23

24

25

26       PLAINTIFF’S OBJECTIONS AND RESPONSES                     Law Offices of Lincoln Bandlow, PC
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         No. 2:17-cv-01731-TSZ – Page 5

     DECLARATION OF ADRIENNE D. MCENTEE IN
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     JUDGMENT - 41
     CASE NO. 2:17-CV-01731-TSZ
